Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 1 of 24
  Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 2 of 24




      TWENTY-SECOND WDICIAL DISTRICT COURT FOR ST. TAMMANY PARISH

                                      STATE OF LOUISIANA

NO.                                                                             DNISION "         "

                      JENNIFER GUSMAN AND DUDLEY VANDENBORRE

                                              VERSUS
                                                                                        St. Tammany
                                                                              Melissa R. Henry • Clerk of Court
                                  CSX TRANSPORTATION, INC.                        Katie GIiiy - Deputy Clerk
                                                                                      Sult 2022-12676 C
                                                                               E-Filed on: 6/15/22 01 :56 PM
                                                                                 Filed on: 6/15/22 03:48 PM
FILED: _ _ _ _ _ _ _ _ _ _ __
                                                       DEPUTY CLERK

                                    PETITION FOR DAMAGES

        NOW INTO COURT, through undersigned counsel, comes petitioners, JENNIFER

GUSMAN and DUDLEY V ANDENBORRE, both persons of the full age of majority, domiciled in

St. Tammany Parish, State of Louisiana, who respectfully represent the following:

                                                  1.

       ,Made defendant herein is:

        A.      CSX TRANSPORTATION, INC., who, upon information and belief, is a foreign

                company authorized to do and doing business in the State of Louisiana; and

                                                  2.

        Defendant is indebted unto your petitioners, in an amount sufficient to invoke the jurisdiction

of this Honorable Court, and for trial by jury, which amount is more than $10,000.00, exclusive of

interest and costs.

                                                  3.

        On August 10, 2021, at approximately 7:30 a.m., Jennifer Gusman was a guest passenger

on a boat owned and operated by her father, Dudley Vandenborre. She was with her father, her

husband, Gary Gusman, Jr., and a friend, Jace, fishing in the Rigolets, near the CSX Rigolets Pass

Bridge. Suddenly and without warning, the boat struck a submerged object, which was an I-Beam

that had been left in the water following the August 2021 repairs to the bridge owned and

maintained by CSX Transportation, Inc. At the time of the impact, Ms. Gusman was in the middle

of casting her reel. As a result of the boat striking the submerged object, Ms. Gusman sustained

severe injuries to her neck and back. Mr. Vandenborre sustained property damages to his boat.
  Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 3 of 24




                                                   4.

        Upon information and belief, at all times material hereto, the CSX Rigolets Pass Bridge,

was owned and/or maintained by CSX Transportation, Inc. On the said date, defendant, CSX

Transportation, Inc., had care, custody and control over the CSX Rigolets Pass Bridge.

                                                   5.

        The sole and proximate cause of the accident was the negligence of the defendant, CSX

Transportation, Inc., in the following respects:

        1.      In allowing a dangerous and/or hazardous condition to exist in navigable waters;


        2.      In failing to warn boaters of a dangerous condition which they knew or should
                have known existed;

        3.      In negligently placing a submerged object in navigable waters without marking
                said object or notifying the appropriate authorities;

        4.      Creating the hazard by placement of the I-Beam in navigable waters; and

        5.      Any and all other acts of negligence, which may be revealed upon the trial of this
                matter, all of which acts are contrary to the law of the state of Louisiana, and are
                pied herein as if copied in extenso.


                                                   6.

        Petitioners were in no way negligent nor did they breach any duty.

                                                   7.

        Petitioner, Jennifer Gusman, suffered injuries, including but not limited to, her neck and

back for which she is currently seeking medical treatment.

                                                   8.

        Your petitioners pray for such damages as are reasonable in the premises, including such

damages for past, present and future medical expenses; damages for past, present and future

physical pain and suffering and mental anguish, pain and suffering; past, present and future lost

wages; loss of academic opportunity; loss of earning potential; loss of revenue; loss of consortium;

loss of enjoyment of life; property damages and for inconvenience. Said damages exceed the

requisite amount req_uired for the jurisdiction of this Court.

                                                   10.

       Petitioners reserve the right to amend this Petition at a later date should it be warranted by

developments which become known in the future.
  Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 4 of 24




        Petitioners pray for a trial by jury.

        WHEREFORE, your petitioners pray that the defendant be duly cited and served with a

copy of this Petition for Damages, and after all legal delays and due proceedings had and a trial by

jury herein, that there be judgment herein in favor of petitioners, Jennifer Gusman and Dudley

Vandenborre, for an amount deemed reasonable in the premises, and against defendant, CSX

Transportation, Inc., together with attorney's fees, legal interest from the date of judicial demand

until paid, and for all costs of these proceedings. Petitioners further pray for a trial by jury and all

other general and equitable relief.




                                                Jtcspectfully sdbinitte~,

                                                THE '.tRlJ~TT LA.;W:FijlM


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                                                                      .lt:.,,,.' ,:(.'\)..~_ ... :.•.·.·. _:-1:-~; .. ,:·. ...
                                                MICHELLE MAYNE DAVIS, BAR NO. 23027
                                                LAUREN A. DUNCAN, BAR NO. 37105
                                                KA YLIN K. STOREY, BAR NO. 39721
                                                149 North New Hampshire Street
                                                Covington, Louisiana 70433
                                                Telephone: (985) 327-5266
                                                Facsimile: (985) 327-5252
                                                Email: mail@trui ttlaw .com
                                                Counsel for Jennifer Gusman
                                                and Dudley Vandenborre




PLEASE SERVE:

CSX Transportation, Inc.
Through its agent for se-rvice of process:
CT Corporation System
3867 Plaza Tower Drive
Baton Rouge, Louisiana 70816




                                                                            A CERTIF ED TRUE COPY
                                                                                  Witness my si ·

                                                                                  Attested
                                                                                  DY. CLERI , 22nd JUD. DTST.                      cou·   1
                                                                                      ST. TAMMANY p . :1, R1St...i                 1 ~.

                                                                                        Eirr.n ,v~tzel, Dep1~ty Clerk
  Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 5 of 24




         TWENTY-SECOND JUDICIAL DISTRICT COURT FOR ST. TAMMANY PARISH

                                     STATE OF LOUISIANA

NO.                                                                                                            DIVISION " . "

                    JENNIFER GUSMAN AND DUDLEY VANDENBORRE

                                              VERSUS
                                                                                                                     St. Tammany
                                                                                                           Melissa R. Henry • Clerk of Court
                                 CSX TRANSPORTATION, INC.                                                      Katie GIiiy • Deputy Clerk
                                                                                                                  Sult 2022-12676 C
                                                                                                            E-Flled on: 6/15/22 01 :56 PM
                                                                                                              Flied on: 6/15/22 03:48 PM

FILED: _ _ _ _ _ _ _ _ _ _ __
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                                    REQUEST FOR NOTICE

       PURSUANT TO Articles 1913, 1914 and 1572 of the Louisiana Code of Civil Procedure,

plaintiffs, Jennifer Gusman and Dudley Vandenborre, hereby request that they be given written

notice of the date of trial, as well as written notice of each rendition by the Court of any Judgment,

and/or Interlocutory Order entered in the above entitled and numbered case.



                                              Rc;speGtfully subrnit:tea~.

                                              THE T,RUITT I,fW FI~
                                              A Limitecl'i,;i"·~'.·"·a·.....,...,...,.......
                                                    ~-ft'-":.~·                  ~)r· ~, .
                                                                             ~~=---
                                              JA,e .· E. TRUITT.~;:• AR· isiQ.                              ts416~ tA
                                              MICHELLE MAYNE DAVIS, BAR NO. 23027
                                              LAUREN A. DUNCAN, BAR NO. 37105
                                              KA YLIN K. STOREY, BAR NO. 39721
                                              149 North New Hamp_shire Street
                                              Covington, Louisiana 70433
                                              Telephone: (985) ~27.~526~
                                              Facsimile: (985) 32?-~2~2::
                                              Email: mail@truittlaw.com
                                              Counsel for Jennifer Gusman
                                              and Dudley Vandenborre




                                                                        A CERTIFIED TRUE COPY
                                                                            Witness my sii;,, ature and seal of office.

                                                                          Attested b :
                                                                           DY. CLERK;+,--:::-22;;,:"1'-11r.J!.~;:;:bJ.~DL!rs,.,<l·.~r.4C....:O-:-J.U-..v:::...'-_,
                                                                               ST. TAMMANY PA.RJSH' I A
                                                                                    KJm \V~tzel, Deputy-Clerk
        Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 6 of 24




             TWENTY-SECOND JUDICIAL DISTRICT COURT FOR ST. TAMMANY PARISH

                                               STATE OF LOUISIANA

      NO.                                                                                  DIVISION "           "

                              JENNIFER GUSMAN AND DUDLEY VANDENBORRE

                                                         VERSUS

                                           CSX TRANSPORTATION, INC.
                                                                                                   St. Tammany
                                                                                         Mellesa R. Henry - Clerk of Court
                                                                                             Katie GIiiy - Deputy Clerk
                                                                                                 Sult 2022-12676 C
                                                                                           E-Flled on: 6/15/22 01:56 PM
      FILED: _ _ _ _ _ _ _ _ _ _ __                                                         Flied on: 6/15/22 03:48 PM

                                                                 DEPUTY CLERK


                                                    JURY ORDER

                  Considering the foregoing request for a jury trial, in accordance with La. C.C.P. Art. 1734,

      et seq., movers, Jennifer Gusman and Dudley Vandenborre, shall post a jury bond in the amount of

      $_ _ _ _ _ _ . The jury bond shall be filed with the Clerk of Court within _ _ _days prior

      to trial.

                  The jury bond will bind mover unto the Clerk of Court in the amount of

      $_ _ _ _ _ _, for the payment of all costs of the trial by jury in the above cause.

                  Covington, Louisiana, this     tfl {    day of -U~:::::!!:::::!,_,_.




                                                                                   \._




THE AMOUNT AND TIME FOR
 FILING JURY COST BOND
 WILL ·sE FIXED WHEN THE
  CASE IS SET FOR TRIAL.




                                                                   A CER.TIFI D TRUE COPY
                                                                     Witness my sig ature and seal of office.

                                                                    Attested
                                                                    DY. CL
                                                                        ST. TAMMANY p,.\ T{!<;µ         I   ~
                                                                           Ki]'i,il \Vitze1, Deputy Clerk
      Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 7 of 24



 Jennifer Gusman, ET AL                                       22nd Judicial District Court

 VS 202212676 Division C                                      Parish of St. Tammany

                                                              State of Louisiana
 CSX Transportation Inc

  TO THE DEFENDANT: CSX Transportation Inc, through its agent for service of
  process, CT Corporation, 3867 Plaza Tower Drive, Baton Rouge La 70816

You are named as a defendant in the above captioned matter. Attached to this citation is a:

     Certified copy of Original Petition     Certified copy of Amended Petition         Discovery Request

You must either comply with the demand contained in the petition or make an appearance either by filing
an answer or other pleading in the 22nd Judicial District Court located at 701 N. Columbia Street,
Covington, Louisiana 70433 within the delay provided in Article 1001 of the Louisiana Code of Civil
Procedure under penalty of default.

Article 1001 of the Louisiana Code of Civil Procedure states:

A. A defendant shall file his answer within twenty-one (21) days after service of Citation upon him,
except as otherwise provided by law.
   If the plaintiff files and serves a Discovery Request with his Petition, the defendant shall file his
answer to the petition within thirty (30) days after service of the petition.
B. When an Exception is filed prior to Answer and is overruled or referred to the merits, or is sustained
and an Amendment of the Petition ordered, the Answer shall be filed within fifteen (15) days after the
exception is overruled or referred to the merits, or fifteen (15) days after service of the
Amended Petition.
C. The Court may grant additional time for answering.

Article 1151 of the Louisiana Code of Civil Procedure provides in pertinent part:

A defendant shall plead in response to an Amended Petition within the time remaining for pleading to the
Original Pleading or with ten (10) days after service of the Amended Petition, whichever period is longer,
unless the time is extended under Article 1001.

                THE CLERK OF COURT’S STAFF CANNOT PROVIDE LEGAL ADVICE.

  By order of the Honorable Judges of said Court this        15th day of June, 2022




                                   BY:
                                           Kim Wetzel, Deputy Clerk
Issued: 06/24/2022
Counsel or Pro Se:
Jack E. Truitt
Attorney at Law
149 N. New Hampshire Street
Covington, La 70433

Received on ______________, 2022, and on __________________, 2022 I served a true copy of
the within ____________________________________________________________________________________,
on __________________________________________________________________________ in person,
at domicile with _______________________________________________________________________________,
in ____________________________Parish, a distance of _______ miles from the Justice Center.

                                                                                            Deputy Sheriff
                                                          Parish of
                                                                                   101 - Regular Citation Rev 2/22
      Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 8 of 24




June 24, 2022

East Baton Rouge Parish Sheriff’s Office
Attn.: Civil Department
P.O. Box 3277
Baton Rouge, La. 70821


Re:     Jennifer Gusman, ET AL
        VS. 202212676 Division C
        CSX Transportation Inc

Dear Sir:

Enclosed please find a citation to be served on the following:

Name:                                          Address:
 CSX Transportation thru agent CT Corp.        3867 Plaza Tower Drive Baton Rouge La 70816


Please find a check in the amount of $___________ payable to you for your services, along with
a check in the amount of $____________ payable to the Secretary of State.

After service has been made, please mail your return to this office.

Sincerely,


Kim Wetzel
Deputy Clerk




                    P.O. Box 1090  Covington LA 70434  (985) 809-8700
      Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 9 of 24




June 24, 2022


Jack E. Truitt
Attorney at Law
149 North New Hampshire St
Covington La 70433


Re:     Jennifer Gusman, ET AL
        vs. 202212676 Division C
        CSX Transportation Inc

Dear Counsel or Self Represented Litigant:

This office has recently received a request for notice filed by your office. Please be advised that
the duties of the Clerk of Court regarding a request for notice are set forth in Louisiana Code of
Civil Procedure Articles 1571, 1572, 1913, 1914 and 2596 and local rule 9:14.

Under the foregoing articles, this office is required to provide you with a notice of trial, a notice
of setting of a hearing in a summary proceeding, a notice of final judgment, including a partial
final judgment, and notice of the rendition of an interlocutory order or judgment.

Please be advised that these are the only notices that this office will provide.

Sincerely,


Kim Wetzel
Deputy Clerk
Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 10 of 24
Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 11 of 24
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        TWENTY-SECOND JUDICIAL DISTRICT COURT FOR ST. TAMMANY PARISH

                                      STATE OF LOUISIANA

NO.                                                                             DNISION"          "

                     JENNIFER GUSMAN AND DUDLEY VANDENBORRE

                                              VERSUS
                                                                                          St. Tammany
                                                                                Melissa R. Henry • Clerk of Court
                                    CSX TRANSPORTATION, INC.                        Katie Gilly - Deputy Clerk
                                                                                        Suit 2022-12676 C
                                                                                 E-Filed on: 6/15/22 01:56 PM
                                                                                   Filed on: 6/15/22 03:48 PM
· FILED: _ _ _ _ _ _ _ _ _ _ __
                                                    · DEPUTY CLERK

                                       INTERROGATORIES

         PLEASE TAKE NOTICE that you are hereby notified and required to answer, separately,

fully, in writing, and under oath, these Interrogatories and provide these answers to Jack E. Truitt,

The Truitt Law Firm, 149 North New Hampshire St., Covington, Louisiana, 70433, within the

applicable delays allowed by law. Your answers to Interrogatories must be accompanied by

a Verification signed by you, stating that your answers to these Interrogatories are true and

correct, and have been made under oath. Failure to attach.said Verification will necessitate

the preparation and filing of a Motion to Compel, including, but not limited to, a request for

sanctions.

         These Interrogatories, and the answers thereto, are deemed to be continuing and

supplementation of answers is required as new information becomes known to you or your

attorney.

INTERROGATORY NO. 1

         Please provide the names, addresses and titles of all CSX Transportation, Inc. personnel

and employees who were working on repairs of the CSX Rigolets Pass Bridge in July - August

2021.          Please    indicate     which    employee/employees        were       responsible       for

maintaining/discarding/repairing the I-Beam that caused the instant accident.

INTERROGATORY NO. 2

         Please state the name, address, place of employment and job title or capacity of all persons

known to CSX Transportation, Inc. or its attorneys who witnessed the accident in question or who

came upon the scene of the accident after its occurrence, or who have or purport to have any
      Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 13 of 24




     knowledge regarding the facts anci;:c~rc~mstances surrounding the happening of the accident in

     question herein.

     INTERROGATORY NO: 3

              Were any statements, written or otherwise, obtained from the plaintiffs or anyone

     interviewed or questioned by or on . beh~lf_ of CSX Transportation, Inc. in connection with the

     accident in question? If ~o, please provide the names and addresses of each person who obtained

     the statement and the names and addresses of each person from whom the statement was obtained.

     INTERROGATORY NO. 4

              Please state the ni;tmes·a~d
                                  .
                                           ~ildreises
                                              . . .: . \•~: .. ·.
                                                                  of aqy.artd
                                                                        . .  .
                                                                              all witnesses whom CSX Transportation,
                                 '             .   .                             ;

· _In9. may or will call at the time of trial of this matter, providing a brief summary of the facts or

     allegations which CSX Transportation, Inc. intends to establish thereby.

     INTERROGATORY NO. 5

              Please state whether or not
                                        .
                                          any photographs,.
                                               .      . ..
                                                            slides, motion pictures, yideos, blueprints,
                                                                     .




     diagrams and/or any other type. of drawings or sketches were made, taken or prepared by or on

     behalf of CSX Transportation, Inc. of the accident scene and the surrounding area. If so, please

     state:

              a.      When -any suc.h .doc~$etiis;:Were made, taken or prepared;

              b.      The n~me and address of each party who made, took ot prepared any of same; and

              C.      The name and address of each party who presently has possession of same.

     INTERROGATORY NO. 6
                             .       .   .   :..   .   .                 .




              Please· identify any an<i ~Ii /~hibits you may use at the trial of this matter.

 · INTERROGATORY NO. 7

              Please state the name, address and qualifications of ~ach ~xpert whom CSX Transportation,

     Inc. expects to call as an expert witness at the trial of this matter, the subject matter which the

     expert expects to testify and attached~ ~opy of any reporti in duding factual ot;,servations, opinions,

· notes; diagrams, etc. which have been prepared by any expert.

     INTERROGATORY NO. 8

              Please state whether or not CSX Transportation, Inc. has a copy of any statement which
                                                                     .               '
                                                           ••,   I




 .
     the plaintiffs previously,
                           .
                                made conce~ing-
                                           .
                                                the· instant accident or its subject matter and who is in
                                                                     .



- the possession, custody or control of said statement.
   Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 14 of 24




                                                                      ....

           For the purpose of this qu~sti~~. a statement previously made is 1) a written statement

  signed or otherwise adopted qr approv~d by_ tlie p~rson making it, or 2) a stenographic, mechanical,
                          ·:.:,   •.¥.               ..   •   .   .                ..       .           .




  electrical or other recording or a transcrtption thereof, which is a substantially verbatim recital of

  an oral statement by the person making it and contemporaneously recorded.

  INTERROGATORY NO. 9
                 .                           .                             .            .       .   .                  .           .

           Was an inv~stigati0n:inade
                         ..   .   . ..
                                       by .or.on
                                         . .
                                                 l;Jeh~f. of.CSX Transportation, Inc. as a result of the           ~




  accident in question? If so, for each investigation, please state:

           a.        The date and time it occurred;

           b.        The name:· address and job title of each person who conducted such; and

           c.        Whether ~Ily·fnyy~tigative reports were mad_e of it and:; if so, the name and address

                     of the person ;ho has custody of such reports.

  INTERROGATORY NO. 10

           Has any other accident occurred in the same area as, or in a similar manner to, the accident

·····made .s\lbject herein?. lfso;for each accident, ·please state:

           a.        The date and time it occurred;

           b.        A description of how_ it qccurred;

           C.        The name and address of the person                                                     to whom it occurred;
                                                 .                             .
                     Thefocati~rdn Which it occurred; and.

           e.        Whether any safety precautions were taken as a result of such accident and, if so, a

                     description of sl,lch.,s,afety precaution.

  INTERROGATORY NO. 11

        ·. . Plaintiffs' allege tha'tjhe"bo~t struck'.a:~6bmerged object~ which was an I-Beam that had

  been left in the water, which caused property ·damages and personal injuries.                                                        Does CSX

  Transportation, Inc. contend that the submerged
                                           .     .
                                                   I-Beam
                                                        .
                                                          and collision with the boat did not cause
                                                                       .   ~




  property damages and injuries to the plaintiffs? If so, please state the following:

         . a.        What do         you ~on.tend caused.piafotiffs i~juries;
          b.         What do you contend caused plaintiffs property damages; and

          c.         On what facts you base such contention.

  INTERROGATORY NO. 12

        . Was CSX Transpori~d~~. Inc. or its empldy~es ~ware of the submerged I-Beam that was
 Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 15 of 24




left in the water prior to the accident in question? If so, for each person who was aware of the

submerged I-Beam that was left in the water, state the following:

        a.     His or her name;
                                      .                         .            .

       b.      The circumstances ftdm Which he or she i-ec~ived su.ch notice;

       c.     . A description of the n9tice received;

       d.      The time and place he or'she received such notice;

        e.     Were .there any persons who.informed him or her of its presence and if so, the name

                and address of eacli. perso·nwho informed.him or her;· and

        f.     Whether he or she toole any action as .a result of such notice and, if so, a description

                of the action that was taken and the time in which it was taken.

INTERROGATORY NO. 13
                 .      .     ..          .·..   .   .     ·.. ·.   .   .   .-·   .             .

        Was any warning given to plaintiffs· or any other person concerning any danger in the area

where the accident occurred? If so; fofeach warning, please state:

        a.      A description of or the substance of the warning that was given;

        b.      The name and address -ofthe person \VhC> gave the warning;

        C.      The na~e and address ofe"~~h person to whom it was given;

        d.      The form in which it was:given; and

        e.      The reason it was given.

INTERROGATORY NO. 14

        Please state the name, address, .and telephone ~u~ber of a~y and all persons having

knowledge of the accident herein.

INTERROGATORY NO. 15

       If you contend that anyone other than yourself -was responsible for this accident, please

identify that person or persons by riame, address, and telephone number and give the reasons why

you believe said person or persons to be :~t fault.

INTERROGATORY NO. 16

       Have you put plaintiffs under surveillance?

INTERROGATORY NO. 17

       If the answer to Interrogatory riumber 16 is yes, please identify by name, address, and

telephone number the person or persons perfonning the surveillance, as well as the dates that any
 Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 16 of 24




surveillance was performed.



INTERROGATORY NO. 18

        If you contend plaintiff's injuries from this accident ·were pre-existing, please state. when

you claim plaintiff was previously injured·and/or how plaintiff was injured.

INTERROGATORYNO. 19

        For your answerto Interrogatory Number 18, please state the health care provider, doctor,

and/or institution who treated plaintiff for the alleged pre-existing injuries and/or to whom plaintiff

complained about the alleged
                           .
                             pre-existing
                                . .
                                          injuries.
                                              •.:·•




INTERROGATORY NO, 20

        If you contend plaintiff aggravated any injuries from this accident in a subsequent accident,

please state the date of injuries, describe the injuries, and give the health care provider to whom

plaintiff complained about the subsequeritinjuries ..

INTERROGATORY NO. 21

        Please identify by name, address, and· telephone number any and all persons from whom

you or any person or entity acting on your behalf took statements regarding. the accident made the

basis of this lawsuit.

INTERROGATORY NO. 22

     ·· Please identify the person or persons ·supplying the information necessary to respond to

these Interrogatories by stating their name, address and relationship to the defendant.



                                                       •R~spectfully ·submiijeo,
                                                       THE TRUITT.LAW FIRM
                                                       A Liihitedu:''; . ; . . ..
                                                                       ..       ..
                                                           __;...;..;.j:F-:-;;?"···~ : ( ~ ,           .

                                                       J.A.e ·. E. TRtJITT.:: :AR. NO. ts-416~ t.A..
                                                          MICHELLE MAYNE DAVIS, BAR NO. 23027
                                     :..,·.
                                                       ·.LAUREN A. DUNCAN;BARNO. 37105
                                                          KA YLIN K. STOREY, BAR NO. 39721
                                                        . 149 North.New Hampshire Street
                                                          Covington, Louisiana 70433
                                                          Telephone: (985) 327-5266
                                                          Facsimile: (985) 327-5252
                                                          Email: mail@truittlaw.com
                                                      . Counsel for Jennifer Gusman
                                                       ,: and Dudley Vandenborre
        Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 17 of 24




                         . .  . .· :FOR
    PLEASE SERVE WITH. PETITION      .
                                        DAMAGES.
                                          ..              ,




                TWENTY-SECOND JUDICIAL DISTRICT COURT FOR ST. TAMMANY PARISH


                                                        STATE OF LOUISIANA
                                                              ,.
    NO.                                                   . :,                                   DNISION "   "

                            JENNIFER GUSMAN AND DUDLEY VANDENBORRE

                                                                       VERSUS

                                                   CSX TRANSPORTATION, INC.


   , FILED:_·------'--'--~------
                                                                                  DEPUTY CLERK

                            REQUESTS FOR PRODUCTION OF DOCUMENTS

                 PLEASE TAKE NOTICE that. you     are hereby notified and required to produce and permit
                                           . ·.•• ·,,                       ,,·




  .. for inspection
          ..     . .
                     and copying
                              .
                                 the. foll~~ing docume·nts
                                   .. .
                                     '.           .
                                                           and things at the office of Jack E. Truitt, The

    Truitt Law Firm, 149 North New Hampshire St., Covington, Louisiana, 70433, within the

    applicable delays allowed by law.                    Your responses to these Requests for Production of

    Documents must be accompanied by a Verification signed by you, stating that your responses

    to these. Requests for P~oduction of Documeii.i are true. and correct, and. have been made
           .,                             .
                                          ~                        .   ·'

    under oath.· Failure to attach said Verification will necessitate the preparation and filing of

    a Motion to Compel, including, but not limited to, a request for sanctions.

                 These Requests, and the .~esp_?nses thereto, are deemed to be continuing and

    supplementation of respons~s. is requi~dd .
                                              ;   ·.,
                                                                   as: new .information becomes known to you or your
                                                                   ·.'




    attorney.

    REQUEST NO. 1

                 A certified, true copy of each policy, contract and/or agreement of insurance and/or

.. ·.,. .indemnification
    .       ...  .
                         wh_ich·-·. would
                                :·    . ·.
                                            afford CSX Tianspc;>rtation,
                                           .·,.        .    ..
                                                                         Inc. coverage
                                                                               .
                                                                                       for claims of the nature

    asserted herein by plaintiffs, whether primary, excess or umbrella policies.

    REQUEST NO. 2
   Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 18 of 24




          A copy of any statemeQt previously made by any person, whether a party or not, concerning

  the instant accident or its subject matter and which is in, the possession, custody or control of

  defendant.

          For the purpose of this question; a statement previously made is 1) a written statement

· · signed or otherwise ad0pted:,or-approved by'the pe~~on making it, or 2) a stenographic, mechanical,

  electrical or other recording or a transc~iption thereof, which is a substantially verbatim recital of

  an oral statement by the person making it and contemporaneously recorded.

  REQUEST NO. 3

          Copies of any and all· photographs; slides_, motion pictures, videos, blueprint_s, diagrams

  and/or any other type of dra~ings or sketches thatWere made, taken or prepared by or on behalf

  of the defendant, of the accident.scene and the surrounding area.

  REQUEST NO. 4

          Copies of aiiy   and hll. phot~graphs, 'slides,: motion
                                            .           .    .
                                                                  pictures, videos, blueprints, diagrams
                                                                    .   .   .



  and/or any other type of drawings• or sketches that were rriade, taken or prepared by or on behalf

  of the defendant, of the plaintiffs ..
                                                  ',:       '


  REQUEST NO. 5

          Copies of ~ny an-a' all. documents. which· reflect CSX Transportation, Inc.' s company

  policies and/or procedures      for repairs- and maintenance of the CSX Rigolets Pass Bridge.
  REQUEST NO. 6

          Copies of any and all investigative reports made by or on behalf of the defendant
     .                       .   ..   ,••   ...
  subsequent to the accident in qu~stioh ..

  REQUEST NO. 7

         Copies of any and all timecards,
                                     . . ..
                                            personnel
                                             . ..
                                                      records
                                                         .
                                                              and logs, or. any other similar documents
                                                                '




  evidencing which CSX Transportation, inc. employees were working on the CSX ~igolets Pass

  Bridge repairs in July -August 2021 and ·their resp~ctive area of ass1gnment.

  REQUEST NO. 8

         Copies of any and all exhibits yo_u may or will use at the trial of this matter.

  REQUEST NO. 9
 Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 19 of 24




         Any and all medical records you may use at trial for impeachment purposes and/or medical

records which you claim renecrany}njuries from this:acciclentwhic4 were pre-existing.




                                                  )

REQUEST NO. 10

        Any and ~11 records that show:pliintiff complained of pain to.the areas injured herein before

the accident herein. Please attach only _the page with the complaint and the source of the record.

REQUEST NO. 11

        Any and all medical records you may use at trial for impeachment purposes and/or which

you claim reflect any injuries from this accident which w~re aggravated by a subsequent injury or

accident.

REQUEST NO. 12

        Any and all medical records you have in your possession with regard to plaintiffs.

REQUEST NO. 13

       - Any and all unprivileg;d dociuiients received by you from any source concerning this

litigation.

REQUEST NO. 14

        Any and all photograp?~• slides, motion pictures, ~cl/or vid~o of the parties, boat, and/or
                                .....

I-Beam involved herein.

REQUEST NO. 15

        Any and all photographs, slides, motion pictures and/or video_ of plaintiffs.

REQUEST NO. 16

        Produce surveillance, reports of surveillance, ~nd invoices for services rendered.

                                              R~spectfully stibnutr¢".d:,

                                              'THE TRUITT LA'.W·FIRM
                                              A       Lili1itcdJ.X · · · ·- ·- -
                                                       ~r~-----~-~-.-r_:,--- ✓~:
                                                                  .· .·,' .. .;;r--:-1 - -.
                                              ,.-1\:.-e--- - E- >nR--UI·m'f' ' - A-',-n'·N-o·-,
                                                                        .J.~J-,.: .: . :..(); .· .•.' .. •.· 1:g--•4
                                              ~-·_.. : ,. J.i .1,. ,::~. ·i
                                                                                                                             :c. -T--A--
                                                                                                             -.... · _:71~,. w·,  . ,/,. •.
                                              MICHELLE MAYNE DA VIS, BAR NO. 23027
                                             :LAUREN A. DUNCAN, BAR NO. 37105
                                              KA YLIN K. STOREY, BAR NO. 39721
                                              149 North New Hampshire Street
 Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 20 of 24




                                                                         Covington, Louisiana 70433
                                                                         Telephone: (985) 327-5266
                                                                 . ·.•· Facsimile: (985) 327-5252.
                                                                       . Email: mail@truittlaw.com
                                                                         Counsel for Jennifer Gusman and
                                                                         Dudley V andenborre

 PLEASE SERVE WITH PETITION FOR DAMAGES
    TWENTY-SECOND JUDICIAL DISTRICT COURT FOR ST. TAMMANY PARISH

                                       :· . STA'.fROF LOUISIANA ..

 NO.                                                                                                DNISION "   "

                        JENNIFER GUSMAN AND DUDLEY VANDENBORRE

                                                                       VERSUS

                                    csx,'t:RA,NSPORTATION, INC.


 FILED: _ _ _ _ _ _ _ _ _ _ _ __
                                                                            DEPUTY CLERK

                                                         VERIFICATION

         BEFORE ME,. the undersigned. ihthority, after havir1g first been duly sworn to testify to
                                        .                ., ..,• . .


 th~ truth, personally came and appeared:




 who, after having been first d.t1ly
                    •           •
                                       ~;~m ••   •   •
                                                         i6\~~tify to the. truth, does venfy that the attached Answers
                                                          •,,w         •




 to Interrogatories and Responses to Requests for Production of Documents are true and correct.

         This _ _ _ day of _ _ _ _ _ _ _ _ , 2022.

 WITNESSES:




. SWORN TO AND SUBSCRIBED .·.

 BEFORE ME THIS _ _· DAY

 OF _ _ _ _ _ _ _ , 2022.
Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 21 of 24




NOTARY PUBLIC
            Case 2:22-cv-02530-WBV-KWR Document 1-1 Filed 08/05/22 Page 22 of 24
                                                             Division C

                                                        Case Summary
                                                        Case No. 202212676


JENNIFER GUSMAN vs. CSX TRANSPORTATION INC                         §                        Location: Division C
                                                                   §                  Judicial Officer: Swartz, Richard A.
                                                                   §                         Filed on: 06/15/2022



                                                        Case Information

                                                                                                   Case Type: Damages
                                                                                                  Case Status: 06/15/2022 Filed

                                                    Assignment Information

             Current Case Assignment
             Case Number 202212676
             Court            Division C
             Date Assigned 06/15/2022
             Judicial Officer Swartz, Richard A.



                                                       Party Information

Plaintiff     GUSMAN, JENNIFER                     TRUITT, JACK E.
                                                   Retained
                                                   149 NORTH NEW HAMPSHIRE ST
                                                   COVINGTON, LA 70433
                                                   btruitt@truittlaw.com

              VANDENBORRE, DUDLEY

Defendant CSX TRANSPORTATION INC



                                                          Case Events

06/27/2022     East Baton Rouge Parish Sheriff Service and Mileage Fee
                 CSX TRANSPORTATION THRU CT CORP
                 Filing Party: Plaintiff GUSMAN, JENNIFER
                 Created: 06/27/2022 11:20 AM
06/24/2022
               Document Signed by Judge (Judicial Officer: Zaunbrecher, Alan A.)
                 jury order
                 Created: 06/24/2022 3:05 PM
06/24/2022     Document Sent to Judge for Signature    (Judicial Officer: Zaunbrecher, Alan A.)
                 jury order
                 Created: 06/24/2022 7:53 AM
06/24/2022     Conformed Copies
                 x6
                 Filing Party: Plaintiff GUSMAN, JENNIFER
                 Created: 06/24/2022 3:39 PM
06/24/2022     Postage
                 x2 1@.53 1@2.16=2.69
                 Filing Party: Plaintiff GUSMAN, JENNIFER
                 Created: 06/24/2022 3:39 PM

                                                            PAGE 1 OF 3                                  Printed on 08/03/2022 at 4:18 PM
        Case 2:22-cv-02530-WBV-KWR Document
                                    Division C 1-1 Filed 08/05/22 Page 23 of 24

                                                       Case Summary
                                                  Case No. 202212676
06/24/2022   Photo Copies of eFiled Documents
               x17
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/24/2022 3:38 PM
06/24/2022   Certified Copies
               x4
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/24/2022 3:39 PM
06/24/2022
             Letter to Attorney - Request for Notice
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/24/2022 3:11 PM
06/24/2022
             Sheriff's Letter (Out of Parish List)
               EBR
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/24/2022 3:10 PM
06/24/2022
             Citation (Related Service Required)
                x1
                Filing Party: Plaintiff GUSMAN, JENNIFER
                Created: 06/24/2022 3:10 PM
06/15/2022
             Letter from Attorney: File Pleading
               1 PG
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/15/2022 5:19 PM
06/15/2022   Civil Cover Sheet - "Part G" - R.S. 13:4688
                Created: 06/15/2022 5:19 PM
06/15/2022
             Request for Notice
               1 PG
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/15/2022 5:16 PM
06/15/2022
             Order
               JURY ORDER 1 PG
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/15/2022 5:17 PM
06/15/2022
             Petition
                DAMAGES 3 PG (JURY TRIAL)
                Filing Party: Plaintiff GUSMAN, JENNIFER
                Created: 06/15/2022 5:15 PM
06/15/2022
             Interrogatories
                5 pg
                Filing Party: Plaintiff GUSMAN, JENNIFER
                Created: 06/21/2022 4:37 PM
06/15/2022
             Request for Production of Documents
               5 pg
               Filing Party: Plaintiff GUSMAN, JENNIFER
               Created: 06/21/2022 4:37 PM



                                                           Service Events
                                                             PAGE 2 OF 3    Printed on 08/03/2022 at 4:18 PM
        Case 2:22-cv-02530-WBV-KWR Document
                                    Division C 1-1 Filed 08/05/22 Page 24 of 24

                                                       Case Summary
                                                       Case No. 202212676

06/24/2022   Citation (30 Day) Requested by: GUSMAN, JENNIFER
             CSX TRANSPORTATION INC
             Unserved
             Anticipated Server: East Baton Rouge Parish Sheriff's Office
             CSX Transportation Inc. thru agent CT Corp-EBR
             Created: 06/24/2022 3:11 PM



                                                    Financial Information

             Plaintiff GUSMAN, JENNIFER
             Case Escrow Balance as of 8/3/2022                               203.56




                                                           PAGE 3 OF 3      Printed on 08/03/2022 at 4:18 PM
